Case: 1:17-cv-00101 Document #: 270-7 Filed: 03/19/19 Page 1 of 11 PageID #:6396




         KATHERINE BLACK vs CHERIE WRIGLEY
                                  17-cv-00101


                  Transcript of the Video Deposition of:

                        PAMELA KERR
                                 August 31, 2018
 Case: 1:17-cv-00101 Document #: 270-7 Filed: 03/19/19 Page 2 of 11 PageID #:6397

      08/31/2018                                   PAMELA KERR                                 Page 3


·1· · · · · · ·Pursuant to Notice and the Federal Rules of

·2· ·Civil Procedure, the video deposition of PAMELA KERR,

·3· ·called by Plaintiff, was taken on Friday, August 31,

·4· ·2018, commencing at 9:09 a.m., at 3900 East Mexico

·5· ·Avenue, Suite 530, Denver, Colorado, before Barbara

·6· ·J. Davalos, Registered Merit Reporter, Certified

·7· ·Realtime Reporter and Notary Public within and for

·8· ·the State of Colorado.

·9

10
· · · · · · · · · · · · · ·I N D E X
11

12· ·EXAMINATION· · · · · · · · · · · · · · · · · PAGE

13· · BY MR. SCHAALMAN· · · · · · · · · · · · · · · ·7
· · · BY MR. MANDELL· · · · · · · · · · · · · · · ·202
14

15

16· ·EXHIBIT· · · · ·DESCRIPTION· · · · · · · · ·INITIAL
· · · · · · · · · · · · · · · · · · · · · · · · ·REFERENCE
17

18· · ·Exhibit 3· · · Untitled spreadsheet· · · · · 48

19·   · ·Exhibit 4· · · Transcriber's Transcript,· · ·75
· ·   · · · · · · · · · 4/2/15
20
· ·   · ·Exhibit 5· · · Status Conference Order In· · 80
21·   · · · · · · · · · re the Interest of· Joanne
· ·   · · · · · · · · · Black
22
· ·   · ·Exhibit 6· · · Ethicspoint Issue and Event· ·89
23·   · · · · · · · · · Manager, 5/7/15

24

25


      witranscripts@uslegalsupport.com   U. S. LEGAL SUPPORT / GRAMANN REPORTING   Phone: (800) 899-7222
 Case: 1:17-cv-00101 Document #: 270-7 Filed: 03/19/19 Page 3 of 11 PageID #:6398

      08/31/2018                                    PAMELA KERR                                 Page 4


·1· · · · · · · · I N D E X· (Continued)

·2· ·Exhibit 7· · · Email string, top message· · ·92
· · · · · · · · · · from Bernard Black to
·3· · · · · · · · · Pamela Kerr, 5/18/15

·4·   ·Exhibit 8·              ·    ·    In the Interest of Joanne· · ·95
· ·   · · · · · ·              ·    ·    Black, Denver Probate
·5·   · · · · · ·              ·    ·    Court, Case No. 2012PR1772,
· ·   · · · · · ·              ·    ·    Details of Invoices from
·6·   · · · · · ·              ·    ·    Esaun Pinto

·7· ·Exhibit 9· · · Email from Pamela Kerr to· · 105
· · · · · · · · · · Cherie Wrigley and Bernard
·8· · · · · · · · · Black, 5/18/15

·9· ·Exhibit 10· · ·Email string, top message· · 118
· · · · · · · · · · from Bernard Black to
10· · · · · · · · · Pamela Kerr, 5/18/15

11·   ·Exhibit 14· · ·Email string, top message· · 119
· ·   · · · · · · · · from Pamela Kerr to Melinda
12·   · · · · · · · · Harper and Lisa DiPonio,
· ·   · · · · · · · · 6/24/15
13
· ·   ·Exhibit 17· · ·Email string, top message· · 125
14·   · · · · · · · · from Pamela Kerr to Patrick
· ·   · · · · · · · · Thiessen, 7/8/15
15
· ·   ·Exhibit 20· · ·Transcriber's Transcript,· · 128
16·   · · · · · · · · 9/8/15

17· ·Exhibit 21· · ·Letter from Katherine· · · · 131
· · · · · · · · · · Litvak to Thomas Aliotta,
18· · · · · · · · · 1/7/16

19·   ·Exhibit 22· · ·Ethicspoint Issue and Event· 140
· ·   · · · · · · · · Manager, 1/8/16
20
· ·   ·Exhibit 23· · ·Letter from Pamela Kerr to· ·142
21·   · · · · · · · · Daniel Rodriguez, 1/8/16

22· ·Exhibit 24· · ·Attorney Affirmation in· · · 182
· · · · · · · · · · Support of the Temporary
23· · · · · · · · · Restraining Order

24

25


      witranscripts@uslegalsupport.com    U. S. LEGAL SUPPORT / GRAMANN REPORTING   Phone: (800) 899-7222
 Case: 1:17-cv-00101 Document #: 270-7 Filed: 03/19/19 Page 4 of 11 PageID #:6399

      08/31/2018                                   PAMELA KERR                                 Page 5


·1· · · · · · · · I N D E X· (Continued)

·2·   ·Exhibit 26· · ·Email string, top message· · 176
· ·   · · · · · · · · from Yekaterina Valerie
·3·   · · · · · · · · Litvak to Bernard Black,
· ·   · · · · · · · · 1/13/16
·4
· ·   ·Exhibit 27· · ·Email string, top message· · 162
·5·   · · · · · · · · from Rita Buckman Winters
· ·   · · · · · · · · to Pamela Kerr, 1/13/16
·6
· ·   ·Exhibit 28· · ·Affirmation & Reply in· · · ·186
·7·   · · · · · · · · Support of Ira Salzman &
· ·   · · · · · · · · Anthony Dain's Motion to
·8·   · · · · · · · · Vacate Katherine Litvak's
· ·   · · · · · · · · TRO Application Seeking a
·9·   · · · · · · · · Permanent Injunction

10· ·Exhibit 30· · ·Transcript, 3/21/16· · · · · 191

11·   ·Exhibit 31· · ·Email string, top message· · ·21
· ·   · · · · · · · · from
12·   · · · · · · · · elderabuse@list.nih.gov to
· ·   · · · · · · · · elderabuse@list.nih.gov,
13·   · · · · · · · · 3/3/16

14· ·Exhibit 32· · ·Email string, top message· · 122
· · · · · · · · · · from Bernie Poskus to
15· · · · · · · · · Bernard Black, 6/26/15

16

17

18

19

20

21

22

23

24

25


      witranscripts@uslegalsupport.com   U. S. LEGAL SUPPORT / GRAMANN REPORTING   Phone: (800) 899-7222   YVer1f
 Case: 1:17-cv-00101 Document #: 270-7 Filed: 03/19/19 Page 5 of 11 PageID #:6400

   08/31/2018                                   PAMELA KERR                               Page 10


·1· ·question, you can read as much of it as you want.
·2· · · · · · · So I think those are the important rules
·3· ·as far as I'm concerned.· And if you want -- there
·4· ·will be objections.· I'm sure Mr. Mandell has told
·5· ·you what to do if there are objections.· And you also
·6· ·have an opportunity to consult with counsel.· Again,
·7· ·I ask you not to do that while a question is pending.
·8· · · · · · · Okay.· Do you understand more or less what
·9· ·I've said?
10· · · · A· · ·Yes.
11· · · · Q· · ·Great.· Okay.· Let's start a little bit
12· ·with your background.· What is your address?
13· · · · A· · ·Which address?
14· · · · Q· · ·You could give me your business address if
15· ·that's the address you normally would give out.
16· · · · A· · ·650 South Cherry Street, Suite 440,
17· ·Denver, Colorado 80246.
18· · · · Q· · ·Thank you.· Let's talk a little bit about
19· ·your education.· Do you have a college degree?
20· · · · A· · ·Yes.
21· · · · Q· · ·Where did you attend college?
22· · · · A· · ·University of -- or Metro State --
23· ·Metropolitan -- Metro State University.
24· · · · Q· · ·Did you receive a degree?
25· · · · A· · ·I did.


   witranscripts@uslegalsupport.com   U. S. LEGAL SUPPORT / GRAMANN REPORTING   Phone: (800) 899-7222   YVer1f
 Case: 1:17-cv-00101 Document #: 270-7 Filed: 03/19/19 Page 6 of 11 PageID #:6401

   08/31/2018                                   PAMELA KERR                               Page 42


·1· · · · A· · ·I did not perform it for the Denver
·2· ·Probate Court.
·3· · · · Q· · ·Let's say in Denver --
·4· · · · A· · ·That a misstatement.
·5· · · · Q· · ·Okay.· In the Denver Probate Court.
·6· · · · A· · ·A case that was filed in the Denver
·7· ·Probate Court, I was -- as I spoke earlier, I
·8· ·described the case to you.· It was a matter before
·9· ·the Denver Probate Court, not for the Denver Probate
10· ·Court.· That's a -- significant.
11· · · · Q· · ·A significant what?· I didn't hear the end
12· ·of it.
13· · · · A· · ·That's significant.
14· · · · Q· · ·Okay.· Are there any other cases you
15· ·worked on as a financial investigator in the Denver
16· ·Probate Court other than the one you've just
17· ·identified?
18· · · · A· · ·Not that I recall.
19· · · · Q· · ·And when -- what year or years did that
20· ·investigation cover?
21· · · · A· · ·Cover?
22· · · · Q· · ·Involve.
23· · · · A· · ·2009, 2010.
24· · · · Q· · ·Who retained you as a financial
25· ·investigator in the case you've just identified?


   witranscripts@uslegalsupport.com   U. S. LEGAL SUPPORT / GRAMANN REPORTING   Phone: (800) 899-7222   YVer1f
 Case: 1:17-cv-00101 Document #: 270-7 Filed: 03/19/19 Page 7 of 11 PageID #:6402

   08/31/2018                                   PAMELA KERR                               Page 43


·1· · · · A· · ·The court appointed guardian ad litem.
·2· · · · Q· · ·And who was that?· What was the guardian's
·3· ·name?
·4· · · · A· · ·I don't know if I -- I think that's
·5· ·confidential.
·6· · · · Q· · ·And is it confidential because the Denver
·7· ·Probate Court matters are sealed or suppressed?
·8· · · · A· · ·It's because it's a client.· I can't give
·9· ·you my client names.
10· · · · Q· · ·Well, let me ask you this.· Did you -- did
11· ·you appear as a witness in any proceedings in this
12· ·investigation that you just identified?
13· · · · A· · ·No.· I was -- excuse me.· I was deposed.
14· · · · Q· · ·Okay.· Did you prepare any reports in that
15· ·investigation?
16· · · · A· · ·Yes.
17· · · · Q· · ·Was that report part of any proceedings in
18· ·the probate court?· And we're now talking about the
19· ·one financial investigation that you can recall in
20· ·the Denver Probate Court.
21· · · · A· · ·I don't know if the report was filed with
22· ·the Denver Probate Court.· They settled the day after
23· ·my deposition.
24· · · · Q· · ·And was the deposition a sealed
25· ·deposition?· Or was it a public deposition, which


   witranscripts@uslegalsupport.com   U. S. LEGAL SUPPORT / GRAMANN REPORTING   Phone: (800) 899-7222   YVer1f
 Case: 1:17-cv-00101 Document #: 270-7 Filed: 03/19/19 Page 8 of 11 PageID #:6403

   08/31/2018                                   PAMELA KERR                               Page 96


·1· · · · · · · MR. SCHAALMAN:· I skipped 8.· I gave the
·2· ·wrong number out, Mr. Mandell.
·3· · · · · · · MR. MANDELL:· No.· That's fine.
·4· · · · Q· · ·(BY MR. SCHAALMAN)· So here's Exhibit 8.
·5· · · · · · · MR. MANDELL:· Could I have another copy
·6· ·for Paul?
·7· · · · · · · MR. SCHAALMAN:· Sure.
·8· · · · · · · MR. RUSCHEINSKI:· Thanks.
·9· · · · · · · MR. SCHAALMAN:· You're welcome.
10· · · · Q· · ·(BY MR. SCHAALMAN)· Here's Exhibit 8,
11· ·Ms. Kerr.· Can you tell us what this is.
12· · · · A· · ·It's a schedule of details of invoices
13· ·from Esaun Pinto.
14· · · · Q· · ·And this is a schedule you prepared?
15· · · · A· · ·That is correct.
16· · · · Q· · ·As part of your forensic investigation for
17· ·the protected person, Joanne Black?
18· · · · A· · ·As part of my forensic investigation of
19· ·Bernard Black for the protected person Joanne Black.
20· · · · Q· · ·And these invoices were to represent
21· ·payment to Mr. Pinto?
22· · · · · · · MR. MANDELL:· Objection to form.
23· · · · A· · ·Can you -- can you rephrase the question?
24· · · · Q· · ·(BY MR. SCHAALMAN)· Sure.· These -- the
25· ·spreadsheet that you prepared contains invoices --


   witranscripts@uslegalsupport.com   U. S. LEGAL SUPPORT / GRAMANN REPORTING   Phone: (800) 899-7222   YVer1f
 Case: 1:17-cv-00101 Document #: 270-7 Filed: 03/19/19 Page 9 of 11 PageID #:6404

   08/31/2018                                   PAMELA KERR                               Page 97


·1· ·information from invoices presented by Mr. Pinto,
·2· ·correct?
·3· · · · A· · ·The invoices were provided to me by Mr.
·4· ·Black from Mr. Pinto.
·5· · · · Q· · ·Okay.
·6· · · · A· · ·So --
·7· · · · Q· · ·But the -- go ahead.· Continue.
·8· · · · A· · ·That's okay.
·9· · · · Q· · ·But the services that you were listing
10· ·were provided by Mr. Pinto, correct?
11· · · · · · · MR. MANDELL:· Object to form.
12· · · · A· · ·Can you rephrase the question?· I'm not
13· ·sure that I'm really understanding it.· I'm just not
14· ·--
15· · · · Q· · ·(BY MR. SCHAALMAN)· Well, there are
16· ·services listed on this spreadsheet that you prepared
17· ·provided by Mr. Pinto, correct?
18· · · · A· · ·These items are information from the
19· ·invoices that I was provided by Mr. Black.
20· · · · Q· · ·And the invoices provide information about
21· ·services and expenses provided by Mr. Pinto, correct?
22· · · · A· · ·Correct.
23· · · · Q· · ·So you were listing on these spreadsheets,
24· ·which is Exhibit 8, payments for services rendered by
25· ·Mr. Pinto, correct?


   witranscripts@uslegalsupport.com   U. S. LEGAL SUPPORT / GRAMANN REPORTING   Phone: (800) 899-7222   YVer1f
 Case: 1:17-cv-00101 Document #: 270-7 Filed: 03/19/19 Page 10 of 11 PageID #:6405

    08/31/2018                                   PAMELA KERR                             Page 177


·1· ·attempting to have any type of ex parte
·2· ·communications with you.· Unfortunately, the only
·3· ·email address I have for Ms. Litvak is the one on
·4· ·Northwestern University School of Law letterhead on
·5· ·which letter was sent to you which is her work email
·6· ·address.
·7· · · · · · · And then you quote and italicize a
·8· ·statement from Ms. Litvak's letter.
·9· · · · A· · ·Correct.
10· · · · Q· · ·And you wrote on the next page, I believe
11· ·this statement is made to insinuate that my
12· ·investigation with regards to Mr. Pinto's actions
13· ·solely, which is 100 percent not true.
14· · · · · · · So your concern, at least as you expressed
15· ·it to Justice Aliotta, was that Ms. Litvak was
16· ·insinuating that you were only investigating
17· ·Mr. Pinto?
18· · · · A· · ·That's what this email says.
19· · · · Q· · ·Well, that was your concern?
20· · · · A· · ·That she was -- that the letter to the
21· ·judge was insinuating that I was hired to investigate
22· ·just Mr. Pinto.
23· · · · Q· · ·And what in Ms. Litvak's statement that
24· ·you quote at the bottom of the first page of
25· ·Exhibit 26 suggests that your investigation was


    witranscripts@uslegalsupport.com   U. S. LEGAL SUPPORT / GRAMANN REPORTING   Phone: (800) 899-7222   YVer1f
 Case: 1:17-cv-00101 Document #: 270-7 Filed: 03/19/19 Page 11 of 11 PageID #:6406

    08/31/2018                                   PAMELA KERR                             Page 178


·1· ·related solely to Mr. Pinto?
·2· · · · A· · ·Not this email, but the letter that she
·3· ·wrote.
·4· · · · Q· · ·Well, you quote from the letter in order
·5· ·to highlight for the judge what you thought was a
·6· ·hundred percent not true?
·7· · · · · · · MR. MANDELL:· Well, I'm going to object to
·8· ·foundation on that.· First of all, form, "highlight"
·9· ·again.· And it's actually not a quote from a letter.
10· · · · Q· · ·(BY MR. SCHAALMAN)· Well, you wrote,
11· ·Page 15 of Ms. Litvak's letter states, right?
12· · · · A· · ·Correct.
13· · · · Q· · ·So you wanted the judge to think you were
14· ·quoting from the letter, Ms. Litvak's letter, right?
15· · · · A· · ·That's correct.
16· · · · Q· · ·And you put it in quotations, and you
17· ·italicized it, correct?
18· · · · A· · ·That is correct.
19· · · · Q· · ·So you thought you were quoting directly
20· ·from Kate Litvak's letter?
21· · · · A· · ·Right.
22· · · · Q· · ·Is this not a quote from her letter?
23· · · · A· · ·The word "authorize" is not correct.· She
24· ·wrote, Ordered to conduct an investigation, and I
25· ·misstated that.


    witranscripts@uslegalsupport.com   U. S. LEGAL SUPPORT / GRAMANN REPORTING   Phone: (800) 899-7222   YVer1f
